Case: 1:03-cv-09417 Document #: 17 Filed: 02/05/04 Page 1 of 3 Page|D #:80

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United States District Court, Northern District of Illinois

 

 

 

 

 

N'ame ol`J\ssigncd Judge M'llton l Shadur Sitting Judgc il`Other
or Magistrate Judge than Assigned Judgc
CASE NUMBER 03 C 9417 DATE 2/5/2004
CASE Kevin Snulligan vs. Selector Attorney General
TITLE

 

 

[In the following box (a) indicate the party liling the motion, e.g., plaintit`t`, det`endant, 3111 party plaintil`[`, and (l)) state briefly the nature
of`the motion being presented.]

 

 

 

 

 

 

 

MOTION:

DOCKET ENTRY:

(l) i:l Filed motion of[ use listing in “Motion” box above.]

(2) E| Brief in support of motion due

(3) |:| Answer brief to motion due__. Reply to answer brief due

(4) |:l Ruling/Hearing on w set for m at

(5) l:l Status hearing[held/continued to] [set for/re~set for] on __ set for _ at _____V_T
(6) |:| Pretrial conference[held/'continued to] [set for/re-set for] on set for at
(7) |:l Trial[set for/re-set t`or] on ___ at

(8) l:l [Beneh/Jury trial] [Hearing] held/continued to f at

(9) l:l This case is dismissed [with/without] prejudice and Without costs[by/agroement!pursuant to]

l:l FRCP4(m) ij meat ante 41.1 l:l FRCP41(a)(1) ij FRCP41(H)(2).

(lo) l [Other docket entry] Enter l\/lernorandum Order. Snulligan’s motion for leave to amend his motion
for reconsideration is denied. (15-1)

(l l) - [For further detail see order attached to the original minute order.]

 

   
   
 
    

No notices required, advised in open eourt. Document

Number

 

No notices requiredl _ _
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/ Notices mailed by judgc`s stal`t`.

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
KEVIN SNULLIGAN #10587-424,

Plaintiff,

SELECTOR ATTORNEY GENERAL, etc.,
et. al.,

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v. ) NO. 03 C 9417
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Defendants. )
MEMORANDUM ORDER

After the issuance of no less than four orders by this Court
during the month of January explaining in careful detail why the
self-prepared Complaint filed by Kevin Snulligan (“Snulligan”)
could not be maintained as a viable Bivens action, Snulligan
submitted a half-inch-thick motion for reconsideration. This
Court's January 29 memorandum order “not only denies his present
motion but also advises him that no further filings will be
accepted without prior leave of this Court.”

Now this Court has received still another Snulligan filing,
this one seeking leave to amend his bulky motion for
reconsideration (unfortunately, though it had been received in
the Clerk's Office January 28~-before this Court's January 29
order--it took a few days to be delivered to this Court's
chambers because of docketing requirements). That motion too is
denied, and because Snulligan must by now have received the
January 29 order (as he had not when he prepared and submitted

the most recent filing), this Court will repeat the January 29 /

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message--NO MORE!

Milton I. Shadur
Senior United States District Judge

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